The Attorney General is in receipt of your request for an opinion wherein you ask the following question: "Whose duty is it to prepare a Judgment and Sentence for the Court to sign in a criminal case?" A review of Titles 21 and 22 of the Oklahoma Statutes and caselaw fails to show a delegation of that specific duty to any office. Greenwood v. State, Okl. Cr., 375 P.2d 661 (1962) sets forth the forms to be used in the preparation of judgments in criminal cases, but failed to affix that duty to any county office.  The Judgment and Sentence in a criminal case is similar to the Journal Entry required in civil cases. Both have a final judgment and a finding of fact with the judge's signature affixed thereto. In civil cases the prevailing party usually prepares the Journal Entry to insure that the finding of facts are correctly set forth. In a criminal case where a Judgment and Sentence would be necessary, the District Attorney's Office would be the prevailing party. It is the duty of every officer of the Court to insure that the plea of guilty or the jury verdict is properly reflected, but the responsibility of preparing the Judgment and Sentence is ultimately that of the court.  The Court Clerk's Office is required under 22 O.S. 977 [22-977] (1971) to enter the judgment upon the record and under 22 O.S. 922 [22-922] (1971) to record the verdict. The Court Clerk also has the duty to obey all directives established by the Chief Judge of the District Court of that county. The forms necessary for the Judgment and Sentence are found in Greenwood, supra, and, therefore, the preparation is of a clerical nature which could be easily delegated to the Court Clerk's office.  The Chief Judge of the District Court has the authority to adopt rules to assure that his orders are prepared and to assure the orderly administration of his court by virtue of 20 O.S. Ch. 1, (1971) App. 2, Rule 8 which states: "Each Chief Judge of a district court shall have the power to adopt rules for the administration of the district court of which he is in charge, which rules shall be consistent with those adopted by the Supreme Court and those of the Presiding Judge . . ." Therefore, it is the opinion of the Attorney General that without clear statutory delegation of the duty to prepare criminal judgments and sentences, the Chief Judge of each district court has the authority to adopt rules delegating such duties as he deems proper for the orderly administration of the court, including the preparation of a judgment and sentence.  (C. ELAINE ALEXANDER) (ksg)